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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                Northern District
                                                 __________       of Georgia
                                                              District of __________


                        Kandice Green                             )
                             Plaintiff                            )
                                v.                                )      Case No.     1:20-cv-03496-LMM-JSA
              General Revenue Corporation                         )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Kandice Green                                                                                                       .


Date:          11/23/2020                                                                 /s/ Daniel M. Brennan
                                                                                            Attorney’s signature


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